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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. 2:11-cr-00190-MCE-7
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       FINDINGS AND ORDER
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: April 17, 2014
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
17
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
18

19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,

20   Esq. hereby stipulate to the following:
21
          1. By previous order, this matter was set for status conference on April 17, 2014.
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          2. By this stipulation, both the government and Manuel Keith move to continue the status
23

24
     conference until June 26, 2014 and to exclude time between April 17, 2014 and June 26, 2014

25   under the Local Code T-2 and T-4.
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          3.   The parties agree and stipulate and request the Court find the following:
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     a. This case was the product of a lengthy investigation in which wiretaps were utilized
 1

 2      on multiple telephones. The government has produced discovery which to date

 3      includes 1,952 pages containing wiretap applications, periodic reports, and
 4
        investigative materials. Additionally, the government has provided defense counsel
 5
        with voluminous wiretap conversations. Given this large volume of discovery,
 6

 7
        counsel for Mr. Keith needs additional time to review the discovery and consult with

 8      him. Additionally, a continuance now will provide the government and defense
 9      counsel the needed time to negotiate and hopefully, finalize a plea agreement. It is
10
        expected the government will be able to provide a plea agreement to Mr. Keith and a
11
        guilty plea is hoped to be entered at the next status conference.
12

13   b. The Government also requests the continuance.

14   c. Based on the above-stated findings, the ends of justice served by granting the
15
        requested continuance outweigh the best interests of the public and the defendant in a
16
        speedy trial within the original date prescribed by the Speedy Trial Act.
17
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19      Section 3161(h)(7)(A) within which trial must commence, the time period of April

20      17, 2014 through June 26, 2014 inclusive, is deemed excludable pursuant to 18
21
        United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
22
        Local Code T-2 and T-4 because it results from a continuance granted by the Court at
23

24
        defendant’s request on the basis of the Court’s finding that the ends of justice served

25      by taking such action outweigh the best interest of the public and the defendant in a
26      speedy trial.
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                                              2
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6   DATED:         April 15, 2014                         BENJAMIN WAGNER
                                                           United States Attorney
 7

 8
                                                           /s/ Jason Hitt

 9                                                by
                                                           Jason Hitt
10                                                         Assistant U.S. Attorney
11
                                                           by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
12

13
     DATED:         April 15, 2014                         JAN DAVID KAROWSKY
14                                                         Attorney at Law
                                                           A Professional Corporation
15
                                                           /s/ Jan Karowsky
16

17                                                by
                                                           JAN DAVID KAROWSKY
18                                                         Attorney for Defendant
                                                           Manuel Keith
19

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21
                                                 ORDER

22
             IT IS SO FOUND AND ORDERED.
23
     Dated: April 15, 2014
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